Case 1:21-cr-00022-CKK Document 137-2 Filed {AOR Ae oe 1 ae
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

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UNITED STATES OF AMERICA
Vv.

Case No. 21-cr-22-CKK

CHRISTOPHER RAY GRIDER,

Defendant.

 

 

[PROPOSED] ORDER

Upon consideration of Rissa Shaw’s Motion to Join Gray Media Group, Inc.’s Motion to
Quash and Memorandum of Points and Authorities in Support Thereof (“Motion to Join”), any
responses thereto, and for good cause shown, it is hereby

ORDERED that the Motion to Join is GRANTED. The subpoena issued to Ms. Shaw is
hereby QUASHED.

Signed this day of 2022.

 

Hon. Colleen Kollar-Kotelly
United States District Judge
